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 4
     Attorney for Defendant
 5   ANTON TKACHEV
 6
                          UNITED STATES DISTRICT COURT
 7
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                             CASE NO. 2:12-CR-0060 TLN
     UNITED STATES OF AMERICA,
10                                             STIPULATION AND ORDER
               Plaintiff,                      CONTINUING STATUS
11                                             CONFERENCE; FINDING OF
         vs.                                   EXCLUDABLE TIME
12
     SERGEY SHCHIRSKIY, et. al.,               Date: May 1, 2014
13                                             Time: 9:30 A.M.
               Defendants.                     Court: Hon. Troy L. Nunley
14

15

16
                                   STIPULATION

17       Plaintiff, United States of America, through its counsel of
18   record, and defendants, Sergey Shchirskiy, Anton Tkachev, and
19
     Nazhmudin Rustamov, by and through their counsel of record,
20
     hereby stipulate and agree as follows:
21

22
         1. A status conference is currently set for May 1, 2014 at

23          9:30 a.m.
24       2. By this stipulation, the above-named defendants now move
25
            to continue the status Conference to July 24, 2014 at
26
            9:30 a.m., and to exclude time between May 1, 2014 to
27

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       July 24, 2014 under Local Code T4.        Plaintiff does not
 1

 2     oppose this request.

 3   3. The basis upon which the parties agree to this proposed
 4
       continuance of the status conference is as follows:
 5
     a. The government has produced discovery which to date
 6
       includes over 1,500 pages, including investigative
 7

 8     reports and bank records and related documents.          All of

 9     this discovery has been either produced directly to
10
       counsel and/or made available.
11
     b. Counsel for the defendants are still in the process of
12
       reviewing the discovery materials, and investigating the
13

14
       case.   Counsel has also been informed that at least one

15     of the co-defendants has requested a plea agreement, and
16     is in the process of negotiating a resolution with the
17
       government.
18
     c. Counsel for the defendants believe that failure to grant
19

20
       the above-requested continuance would deny their clients

21     the reasonable time necessary for effective preparation,
22     taking into account the exercise of due diligence.
23
     d. Plaintiff does not object to the continuance.
24
     e. Based on the above-stated findings, the ends of justice
25

26
       served by continuing the status conference as requested

27     outweigh the best interest of the public and the
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             defendants in a trial within the original date prescribed
 1

 2           by the Speedy Trial Act.

 3         f. For the purpose of computing time under the Speedy Trial
 4
             Act, 16 U.S.C. § 3161, et seq., within which trial must
 5
             commence, the time period from May 1, 2014 to July 24,
 6
             2014 inclusive, is deemed excludable pursuant to 18
 7

 8           U.S.C. § 3161(h)(7)(a), B (iv) [Local Code T4] because it

 9           results from a continuance by the Court at the
10
             defendant’s request on the basis of the Court’s finding
11
             that the ends of justice served by taking such action
12
             outweigh the best interest of the public and the
13

14
             defendant in a speedy trial.

15         4. Nothing in this stipulation and order shall preclude a
16           finding that other provisions of the Speedy Trial Act
17
             dictate that additional time periods are excludable from
18
             the period within which a trial must commence.
19

20
           5. Finally, Christopher Haydn-Myer has been authorized by

21           counsel to sign this stipulation on their behalf.
22   IT IS SO STIPULATED.
23
     DATED: April 28, 2014             BENJAMIN B. WAGNER
24                                     Unites States Attorney
25                                     /s/ Christopher Haydn-Myer for
26
                                       Lee S. Bickley
                                       Assistant United States Attorney
27                                     for Plaintiff United States
28   ///


                                        - 3 -
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     DATED: April 28, 2014
 1

 2                                    /s/ Christopher Haydn-Myer for
                                      Danny D. Brace, Jr.
 3                                    Attorney for Sergey Shchirskiy
 4
     DATED: April 28, 2014
 5
                                      /s/ Christopher Haydn-Myer for
 6                                    Candice L. Fields
                                      Attorney for Nazhmudin Rustamov
 7

 8
     DATED: April 28, 2014            HAYDN-MYER LAW OFFICE
 9
                                      /s/ Christopher Haydn-Myer
10
                                      CHRISTOPHER HAYDN-MYER
11                                    Attorney for Anton Tkachev

12

13                                    ORDER
14

15       IT IS SO FOUND AND ORDERED this 29th of April, 2014.
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20                                             Troy L. Nunley
                                               United States District Judge
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